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 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           2:06-CR-00058-FCD
                                   )
12                  Plaintiff,     )           STIPULATION AND APPLICATION FOR
                                   )           A MONEY JUDGMENT AND ORDER
13        v.                       )           THEREON
                                   )
14   IOSIF CAZA, et al.,           )
                                   )
15                  Defendants.    )
     ______________________________)
16
17          The United States and defendant Iosif Caza stipulate to the
18   entry of a Money Judgment based on the Application of the United
19   States, as set forth below:
20          1.   The Second Superseding Indictment in this case charges
21   defendant Iosif Caza with Conspiracy to Defraud the United States,
22   and to Make False Statements in Asylum Application in violation of
23   18 U.S.C. § 371, False Statements in Asylum Applications, and Aiding
24   and Abetting in violation of 18 U.S.C. § 1546 and 2, Aiding and
25   Abetting False Statements in violation of 18 U.S.C. § 1001 and 2,
26   and Conspiracy to Make False Statements in violation of 18 U.S.C. §
27   371.   The Second Superseding Indictment included a forfeiture
28
                                           1         Stipulation and Application for a Money
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 1   allegation.
 2        2.    On June 25, 2009, defendant Iosif Caza was found guilty of
 3   Count One which charges him with Conspiracy to Defraud the United
 4   States, and to Make False Statements in Asylum Application in
 5   violation of 18 U.S.C. § 371; Counts Four, Five, and Ten through
 6   Twelve which charge him with False Statements in Asylum
 7   Applications, and Aiding and Abetting in violation of 18 U.S.C. §
 8   1546 and 2, among other charges.
 9        3.    Defendant Iosif Caza stipulates and agrees to forfeit
10   voluntarily and immediately $40,000, as a personal money judgment
11   pursuant to Fed. R. Crim. P. 32.2(b)(1), which reflects a reasonable
12   compromise between the parties for forfeiture purposes concerning
13   the proceeds the defendant obtained as a result of violations of 18
14   U.S.C. §§ 371 and 1546, to which he has been found guilty.
15        4.    Plaintiff hereby applies for entry of a money judgment as
16   follows:
17               a.   Pursuant to 18 U.S.C. § 982(a)(6)(A)(ii)(I) and Fed.
18   R. Crim. P. 32.2(b)(1), the Court shall impose a personal forfeiture
19   money judgment against defendant Iosif Caza in the amount of
20   $40,000.
21               b.   The above-referenced personal forfeiture money
22   judgment is imposed based on defendant Iosif Caza’s conviction for
23   violating 18 U.S.C. §§ 371 and 1546.       Said amount reflects a
24   reasonable compromise between the parties for forfeiture purposes
25   concerning the proceeds the defendant obtained, which the defendant
26   agrees is subject to forfeiture based on the offenses of conviction.
27   Any funds applied towards such judgment shall be forfeited to the
28
                                         2         Stipulation and Application for a Money
                                                   Judgment and Order Thereon
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 1   United States of America and disposed of as provided for by law.
 2         5.   Payment of the personal forfeiture money judgment should be
 3   made in the form of a cashier’s check(s) made payable to Customs and
 4   Border Protection and sent to the U.S. Attorney’s Office, Att: Asset
 5   Forfeiture Unit, 501 I Street, Suite 10-100, Sacramento, CA 95814.
 6   Prior to the imposition of sentence, any funds delivered to the
 7   United States to satisfy the personal money judgment shall be seized
 8   and held by the U.S. Department of Homeland Security, Customs and
 9   Border Protection in its secure custody and control.
10   DATED: 10/16/09                          LAWRENCE G. BROWN
                                              United States Attorney
11
12                                            /s/ Camil A. Skipper
                                              CAMIL A. SKIPPER
13                                            Assistant U.S. Attorney
14
15   DATED: 10-14-09                          /s/ Iosif Caza
                                              IOSIF CAZA
16                                            Defendant
17
18   DATED: 10/14/09                          /s/ Timothy Zindel
                                              TIMOTHY ZINDEL
19                                            Attorney for Defendant
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                                          3         Stipulation and Application for a Money
                                                    Judgment and Order Thereon
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 1                                    O R D E R
 2        For good cause shown, the Court hereby imposes a personal
 3   forfeiture money judgment against defendant Iosif Caza in the amount
 4   of $40,000.   Any funds applied towards such judgment shall be
 5   forfeited to the United States of America and disposed of as
 6   provided for by law.    Prior to the imposition of sentence, any funds
 7   delivered to the United States to satisfy the personal money
 8   judgment shall be seized and held by the U.S. Department of Homeland
 9   Security, Customs and Border Protection, in its secure custody and
10   control.
11        IT IS SO ORDERED.
12   DATED: October 19, 2009
13                                     _______________________________
                                       FRANK C. DAMRELL, JR.
14                                     UNITED STATES DISTRICT JUDGE
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                                         4         Stipulation and Application for a Money
                                                   Judgment and Order Thereon
